Case 2:03-cV-O2O25-.]DB Document 12 Filed 07/20/05 Page 1 of 2 Page|D 25

 

UNITED sTATEs DlsTRICT CoURT F"‘ED B"' ~~» D-C-
WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 95 JUL 20 PH lg: 27
DIRECTV, Inc., a California corporalion, )
) ~ .
Piaimifr, ) TCOI)RT
)
v. ) ease No. 03-2025-M1/Bre
)
JAM'ES PARR, )
)
Defendant. )

AGREED ORDER OF COMPROMISE AND DISMISSAL
AS TO DEFENDANT JAMES PARR

lt appearing to the court that the parties have settled all matters in controversy
existing between them it is therefore accordingly ORDERED, ADJUDGED AND
DECREED by the court that:

The Complaint of the Plaintiff, DIRECTV, Inc. is hereby dismissed with

prejudice as to Defendant JAMES PARR. `/§§LL
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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
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Honorable .1. Breen
US DISTRICT COURT

